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     Attorney for Defendant
 5
     PEDRO FUENTES
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 8                               UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                       Case No.: 2:16-cr-025 TLN
11
     UNITED STATES OF AMERICA,
12
                    Plaintiff,                         ORDER TO CONTINUE SENTENCING
13                                                     HEARING AND MODIFY PRE-SENTENCE
14   vs.                                               REPORT DEADLINES

15   PEDRO CRUZ FUENTES,
16                                                     Court:      Hon. Troy L. Nunley
                    Defendant.
17                                                     Date:       January 24, 2019
                                                       Time:       9:30 a.m.
18

19

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21

22
            The parties to this action, Plaintiff United States of America by and through Assistant
23

24   U.S. Attorney Justin Lee and Attorney Todd D. Leras on behalf of Defendant Pedro Fuentes,

25   submit this request to continue the date presently set for Judgment and Sentencing in the above-
26
     referenced matter from November 1, 2018 to January 24, 2019.
27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
                Case 2:16-cr-00025-TLN Document 245 Filed 10/24/18 Page 2 of 3


 1          Defense counsel requests the continuance because he needs additional time to prepare for
 2
     the sentencing hearing. This preparation time includes meeting with Mr. Fuentes and a Spanish
 3
     language interpreter to review materials relevant to the hearing. Mr. Fuentes has limited English
 4
     language skills. Review of relevant sentencing documents therefore requires interpreter
 5

 6   assistance to ensure that Mr. Fuentes is fully advised of procedural and substantive sentencing

 7   matters.
 8
            The government does not object to the requested continuance and the assigned probation
 9
     officer has confirmed her availability on the requested date. Mr. Fuentes’ probation interview
10
     and the draft Pre-Sentence Investigation Report have been prepared. There is therefore a limited
11

12   adjustment of the previously-set disclosure schedule as follows:

13          1. Informal Objections to Draft Pre-Sentence Report: November 29, 2018;
14
            2. Final Pre-Sentence Report Date: December 13, 2018;
15
            3. Motion for Correction Date: January 10, 2019; and
16
            4. Reply Date: January 17, 2019.
17

18          This request follows a guilty plea so an exclusion of time pursuant to the Speedy Trial

19   Act is not required. Assistant U.S. Attorney Justin Lee has reviewed this proposed order and
20
     authorized Todd D. Leras via email to sign it on his behalf.
21
     DATED: October 24, 2018
22                                                By      /s/ Todd D. Leras for
                                                                 JUSTIN LEE
23
                                                                 Assistant United States Attorney
24
     DATED: October 24, 2018                      By      /s/ Todd D. Leras
25                                                               TODD D. LERAS
                                                                 Attorney for Defendant
26
                                                                 PEDRO FUENTES
27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
              Case 2:16-cr-00025-TLN Document 245 Filed 10/24/18 Page 3 of 3


 1                                             ORDER
 2
            The Judgment and Sentencing Hearing in this matter is continued to January 24, 2019, at
 3
     9:30 a.m. The Court adopts the modified Pre-Sentence Investigation Report deadline proposed
 4
     by the parties.
 5

 6          IT IS SO ORDERED.

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 8
     DATED: October 24, 2018
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10                                            HONORABLE TROY L. NUNLEY
                                              UNITED STATES DISTRICT JUDGE
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27   ORDER CONTINUING
     SENTENCING HEARING AND
28   MODIFYING PSR SCHEDULE
